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                                                                                 2008 Jul-10 PM 03:13
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

LISA K. WHITE,                               )
                                             )      CIVIL ACTION NUMBER:
      Plaintiff,                             )
                                             )          2:08-CV-01047-WMA
v.                                           )
                                             )              UNOPPOSED
NCO FINANCIAL SYSTEMS, INC.,                 )
                                             )
      Defendant.                             )


                     NOTICE OF PENDING SETTLEMENT



      Plaintiff, Lisa K. White, and Defendant, NCO Financial Systems, Inc.,

through counsel, have resolved this matter and are currently reviewing the

proposed settlement agreement and release. Upon execution of the agreement, the

Parties will file a joint stipulation for voluntary dismissal with the Court.

      WHEREFORE, the Defendant respectfully requests that any Court deadlines

be extended for 30 days to allow the settlement to be accomplished and the

dismissal documents to be drafted and filed.

                                        Respectfully submitted,

                                        /s/ Laura C. Nettles
                                        Laura C. Nettles, Esq. (ASB-5805-S63L)
                                        Dustin J. Kittle (ASB-8250-T68K)
                                        Attorneys for Defendant,
                                        NCO Financial Systems, Inc.
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                         CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing document to all
attorneys of record by electronically filing the foregoing document with the United
States District Court, Northern District of Alabama on this the 9th day of July,
2008:


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                                      /s/ Laura C. Nettles
                                      OF COUNSEL




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